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                                EXHIBIT A
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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

JOHN PAUL MAC ISAAC,         :
                             :
        Plaintiff,           :                Case No. 1:23-cv-247 (MN)
                             :
    v.                       :
                             :
CABLE NEWS NETWORK, et. al., :
                             :
        Defendants.          :


         PLAINTIFF’S OPPOSITION TO UNITED STATES’
      MOTION TO SUBSTITUTE AND TO DISMISS FOR LACK OF
               SUBJECT MATTER JURISDICTION
                  PURSUANT TO RULE 12(b)(1)
         AND INCORPORATED MEMORANDUM OF LAW

      Plaintiff, John Paul Mac Isaac (“Plaintiff”), hereby submits this Opposition to

the United States’ Motion to Substitute and to Dismiss for Lack of Subject Matter

Jurisdiction Pursuant to Rule 12(b)(1). In support of this Opposition, Plaintiff states

as follows:

                                 BACKGROUND

      This action is brought by the Plaintiff as a result of defamatory statements by

Defendants, including Defendant Adam Bennett Schiff (“Schiff”), about the Plaintiff

and others alleged to be involved in the dissemination of information from the

Hunter Biden laptop. Plaintiff owned a computer repair shop in Wilmington,

Delaware and, in April 2019, Defendant Hunter Biden (“Hunter”) dropped off a


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laptop to be repaired. Biden returned to Plaintiff’s shop once more to leave an

external hard drive onto which Plaintiff was to transfer the recovered data from the

laptop. Hunter never returned to pick up the laptop and the external hard drive. In

December 2019, Plaintiff turned over the laptop and external hard drive to the

Federal Bureau of Investigation (“FBI”) concerned that the laptop and hard drive

contained evidence of crimes. Plaintiff retained an exact copy of the hard drive out

of fear that the information he provided to the FBI may be lost.

      Eventually, during the impeachment hearings for President Donald J. Trump

and believing the copy may contain information pertinent to the proceedings,

Plaintiff contacted Mr. Rudolph Giuliani (“Giuliani”) in an attempt to get the copy

Plaintiff had retained to the President for his defense. However, on October 14, 2020,

using the information provided to Giuliani by Plaintiff, the New York Post (“NY

Post”) published an article about some of the information on the hard drive (“NY

Post Article”). As a direct response to the NY Post Article, the Defendants of this

case, specifically including Schiff, began what seemed to be, an offensive against

the Plaintiff, Giuliani, and others in an attempt to hinder the spread of the

information from the laptop and discredit those identified as involved in its

dissemination. Despite the fact that Plaintiff did not consent to the use of the

information from the hard drive for anything other than as a legal defense nor did

the Plaintiff consent to the publication of the NY Post Article, Schiff and the


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Defendants defamed Plaintiff by creating a narrative that Plaintiff was knowingly

involved in a Russian disinformation campaign. Despite admitting to not having

received intelligence that the Hunter Biden laptop information was part of a Russian

disinformation campaign, Schiff participated in an interview on Cable News

Network (“CNN”) and told the American public that the Hunter Biden laptop

information is known to come from the Kremlin.

      As a direct and proximate result of the actions of the Defendants, Plaintiff has

suffered substantial damages directly attributable to the actions of the Defendants

including: (1) the loss of his business and, as a result, loss of future revenue, (2) the

loss of his ability to find gainful employment, and (3) substantial injury to his

reputation and goodwill.

      On October 17, 2021, the Plaintiff filed his complaint in Superior Court in the

State of Delaware. Plaintiff amended the Complaint to make minor corrections to

the caption of the case on January 20, 2023. On March 1, 2023, Plaintiff filed his

Motion for Leave to File Second Amended Complaint and attached the Second

Amended complaint thereto (all versions of the complaint are hereinafter referred to

as the “Complaint”). On March 7, 2023 this action was removed to this Court.

                       STATEMENT OF JURISDICTION

      Plaintiff disputes whether this court has subject matter jurisdiction over this

case. The primary sources of subject matter jurisdiction for the U.S. District Courts


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are cases involving a federal question (28 U.S.C. § 1331) and diversity of

citizenship (28 U.S.C. § 133). This case involves neither of those sources of

subject matter jurisdiction.

      Instead, the United States Department of Justice (“DOJ”) attempts to

convince this court that this matter falls under the Federal Tort Claims Act

(“FTCA”). 28 USCS, Pt. VI, Ch. 171. Specifically, the DOJ is seeking dismissal of

this claim pursuant to the Westfall Act, 28 U.S.C. § 2679, which was enacted in

1988 to codify the alleged common-law immunity created by the United States

Supreme Court in Westfall v. Erwin, 484 U.S. 292 (1988). See FEDERAL

EMPLOYEES LIABILITY REFORM AND TORT COMPENSATION ACT OF

1988, 1988 Enacted H.R. 4612, 100 Enacted H.R. 4612, 102 Stat. 4563.

      As will be shown in this opposition, the DOJ made a mistake by certifying

this matter and removing it to Federal Court. After this Court makes such a

determination, this matter should be remanded back to State Court.

                                APPLICABLE LAW

   A. Westfall Act

      The FTCA creates a federal tort cause of action against the United States for

injuries resulting from the negligent or wrongful acts or omissions of federal officials

acting within the scope of their employment. The Westfall Act modified the FTCA

by providing that, when a tort action is brought against a federal employee in his/her


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individual capacity, DOJ may certify that the defendant employee “was acting within

the scope of his office or employment at the time of the incident out of which the

claim arose.” 28 U.S.C. §2679(d)(1). If the DOJ certifies that the official was acting

within the scope of employment, the suite “shall be deemed an action against the

United States” under the FTCA, “and the United States shall be substituted as a party

defendant.” Id.

      The DOJ’s decision regarding scope-of-employment certification is

considered “conclusive unless challenged. Accordingly, the party seeking review

bears the burden of presenting evidence and disproving the [DOJ’s] decision to

[grant] scope of employment certification by a preponderance of the evidence.”

Saleh v. Bush, 848 F3d 880 (9th Cir. 2017) (quoting Green v. Hall, 8 F.3d 695, 698

(9th Cir. 1993)); see also Wilson v. Libby, 535 F. 3d 697, 711 (D.C. Cir. 2008);

Lyons v. Brown, 158 F.3d 605, 610 (1st Cir. 1998); S.J. & W. Ranch, Inc. v.

Lehtinen, 913 F.2d 1538, 1543 (11th Cir. 1990), amended, 924 F.2d 1555 (11th Cir.

1991).

   Scope-of-Employment Law

      In considering scope-of-employment issues under the Westfall Act, the Third

Circuit applies the respondeat superior principles of the jurisdiction where the

employment relationship exists. See Sharratt v. Murtha, 437 F. App'x 167 (3d Cir.

2011) (citing Brumfield v. Sanders, 232 F.3d 376, 380 (3d Cir. 2000)). Here, Schiff’s


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employment relationship with the United States exists in the District of Columbia

even though, upon information and belief, the alleged tortious conduct occurred in

the State of Maryland.

      The District of Columbia follows § 228 of the Restatement (Second) of

Agency, which provides:

               (1) Conduct of a servant is within the scope of employment if, but
               only if:

                     (a)   it is of the kind he is employed to perform;

                     (b)   it occurs substantially within the authorized time and
                           space limits;

                     (c)   it is actuated, at least in part, by a purpose to serve the
                           master; and

                     (d)   if force is intentionally used by the servant against another,
                           the use of force is not unexpectable by the master.

               (2)   Conduct of a servant is not within the scope of employment if it
                     is different in kind from that authorized, far beyond the
                     authorized time or space limits, or too little actuated by a purpose
                     to serve the master.

      Restatement (Second) of Agency § 228 (1958) (“Restatement”); see Wilson,

 535 F.3d at 711; Council on Islamic Relations v. Ballenger, 444 F.3d 659, 663 (D.C.

 Cir. 2006).

      The District of Columbia scope test is “an objective one, based on all the facts

 and circumstances.” Wilson, 535 F.3d at 711 (quotation omitted). Because the test

 under § 228(1) is framed in the conjunctive, all four elements of § 228(1) must be


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 satisfied for a court to conclude that an employee acted within the scope of his office

 or employment. See Ballenger, 444 F.3d at 663.

                                    ARGUMENT

      The DOJ has approved certification of Plaintiff’s case against Schiff under the

 Westfall Act. Thus, Plaintiff has the burden, by a preponderance of the evidence,

 to show that Schiff was not acting within the scope of his office or employment as

 a Member of the U.S. House of Representatives at the time of the incident out of

 which the Complaint arose.

      First, the Complaint clearly alleges that Schiff’s conduct was undertaken as

 part of a campaign-type communication and campaign activity is not “of the kind

 [Schiff] is employed to perform,” or “within the authorized time and space limits”

 for a Member of Congress. Restatement §§ 228(1)(a), (b). Second, the Complaint

 alleges that Schiff engaged in a conspiracy to lie to the American public to ensure

 the election of the Democratic Presidential candidate, Joseph R. Biden, Jr.

 (“Biden”) and to defame those who had any connection to Hunter’s laptop,

 including the Plaintiff. Finally, the Complaint provides sufficient proof that Schiff

 knew that his statements were false. That alleged conduct plainly would not qualify

 as within the scope of employment for an officer or employee of the United States

 because lying to ensure the election of a preferred candidate is different in kind from




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 any authorized conduct and not “actuated…by a purpose to serve” the employer.

 Id. § 228(1)(c).

      As such, this Court should overturn the DOJ’s certification to substitute the

 United States as Defendant and order that Schiff was not acting within the scope of

 his employment and should proceed in his individual capacity. Plaintiff’s

 Complaint shows, by a preponderance of the evidence, that it is more likely that

 Schiff acted to ensure the election of Biden than out of concern that a foreign power

 was seeking to influence the 2020 U.S. Presidential election.

      Alternatively, this Court should grant limited discovery for the purposes of

 determining whether Schiff’s purpose was to warn the American people of what he

 truly believed was a foreign threat to our elections or if Schiff’s purpose was to

 ensure the election of Biden.

 I.   Schiff’s Interview with CNN was not within the scope of the office or
      employment of a Member of Congress.

      Official Duties

      Article I, Section 6 of the United States Constitution provides that a member

 of Congress shall be free from liability for things said while participating in a

 Congressional debate or proceeding (Speech and Debate Clause). Schiff was not

 participating in a Congressional debate or proceeding.

      Schiff’s defamatory statements were not made pursuant to the enumerated

 powers of Congress set forth in Article I, Section 8 of the U.S. Constitution. Nor
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 were Schiff’s defamatory statements made pursuant to the “implied powers” of

 Congress. Reinstein, Robert J. (2019) "The Aggregate and Implied Powers of the

 United States," American University Law Review: Vol. 69 : Iss. 1 , Article 3

      Electioneering and Campaign Efforts

      Members of Congress are subject to extensive restrictions that carefully

 distinguish between official functions and unofficial activity, including

 electioneering and campaign efforts. It is undisputed that Schiff participated in the

 CNN interview. Compl. ¶ 6. Additionally, the Complaint clearly alleges that it is

 more likely than not that Schiff knew that his statements during the Interview

 were lies. Compl. ¶¶ 68-76. During the interview itself, Schiff admitted that the

 intelligence community “has not been very forthcoming in terms of the

 intelligence on the Russian threat.” Id. Finally, during the interview, Schiff states

 that “there’s only one remedy at this point and that’s to vote [Trump] out.” See

 Exhibit I of the Complaint.

      Further, the Complaint clearly alleges that it is more likely than not that the

 information on the Hunter Biden laptop was of the type that would hurt the

 candidacy of Biden and that Schiff had a record of campaigning for Biden.

      As such, Schiff’s statements about the Plaintiff constituted electioneering

 and campaign efforts because he, admittedly, made the statements despite being

 told the opposite by the intelligence community.

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    II.    Deceiving the American public would not be within the scope of a
           Member of Congress’s employment.

           The House Ethics Manual sets the general ethical standards for members of

Congress. House Ethics Manual (2022), Chapter 1, “General Ethical Standards,” at

1 – 21.1 These rules can and should be interpreted as the rules of the master in the

DOJ’s determination of a member’s “scope of employment.” Therefore, at a

minimum, the DOJ should view these general standards as a baseline for the

determination of whether the servant member’s behavior was actuated by a purpose

to serve the master, whose “rules” are set forth in the House Ethics Manual. See

Restatement § 228(2).

           Clause 1 of the general ethical standards by which a Member of the House

should act states that Members should “conduct themselves at all times in a manner

that reflects creditably on the House.” See Id at 1. Cases involving this clause

historically view violations of the clause as “encompassing violations of law and

abuses of one’s official position.” Id.

           Clause 3 of the general ethical standards by which a Member of the House

should act states that Members should “adhere to the broad ethical standards

expressed in the Code of Ethics for Government Service.” Id. The Code of Ethics

for Government Service states that any person in government service should “adhere



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    https://ethics.house.gov/sites/ethics.house.gov/files/documents/2022/House-Ethics-Manual-2022-Print.pdf

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to the highest moral principles.” House Ethics Manual (2022), Appendix, “Code of

Ethics for Government Service,” at 355.

       By certifying this case, the DOJ argues that Schiff did not abuse his official

position by making deceptive statements about the Hunter Biden laptop on a news

program. Further, the DOJ argues that knowingly deceiving the American public

adheres to the highest moral principles of a person in government service. Not only

did Schiff knowingly deceive the public – he did so knowing the harm it would cause

the Plaintiff.

       The DOJ wrongly determined that deceiving the American public, as Schiff

knowingly did when he appeared on CNN, was “in the scope of his employment,”

since the statements made during the interview were obvious violations of the House

ethical rules.

       The Westfall Act should not be read to allow Schiff, or any other Member of

Congress, to relieve himself from liability for knowingly defaming a member of the

public as a means to steer votes to his chosen candidate. The U.S. Constitution

created the Judicial Branch to prevent this exact type of government overreach. To

allow the DOJ to certify this matter pursuant to the Westfall Act will continue the

long path down the slippery slope that Americans are witnessing.




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                                 CONCLUSION

      The Plaintiff respectfully request that this Honorable Court overturn the

decision of the United States Department of Justice to certify this case against Adam

Bennett Schiff and have Adam Bennett Schiff proceed in his individual capacity.

Alternatively, the Plaintiff respectfully requests that this Honorable Court allow

limited discovery to determine whether Schiff’s purpose was to warn the American

people of what he truly believed was a foreign threat to our elections or if Schiff’s

purpose was to ensure the election of Biden.

Dated:       March 24, 2023


 /s/ Ronald G. Poliquin                      /s/ Brian R. Della Rocca
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